          EXHIBIT A4




Case 3:23-md-03071   Document 776-11   Filed 02/09/24   Page 1 of 5 PageID #: 14249
 Case 2:20-cv-02600-SHL-cgc Document 61 Filed 10/15/20 Page 1 of 4                     PageID 445




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TENNESSEE
                                    WESTERN DIVISION

                                                    )
 FUSION ELITE ALL STARS, et al.,                    )
            Plaintiffs,                             )
                                                    )
  v.
                                                    )           No. 2:20-cv-2600-SHL-cgc
                                                    )
 VARSITY BRANDS, LLC, et al.,
                                                    )
            Defendants.                             )
                                                    )

                                        SCHEDULING ORDER



           Pursuant to written notice, a scheduling conference was held by video conference on

 September 30, 2020. Present were Benjamin A. Gastel, Eric L. Cramer, H. Laddie Montague, Jr.,

 Mark Suter, Mary L. Russell, J. Gerard Stranch, IV, Greg S. Asciolla, Karin E. Garvey, Trey

 Thatcher, Victoria Sims, Katheryn Van Dyck, Greg Asciolla and Brian Shearer, counsel for

 plaintiffs, and Adam S. Baldridge, George Cary, Matthew S. Mulqueen, Steven Kaiser, Grady M.

 Garrison, Nicole D. Berkowitz and Alexis Collins, counsel for defendants. The Court discussed

 dates and deadlines with the Parties, and the Parties agreed to submit a joint proposed scheduling

 order. Pursuant to the joint proposed scheduling order, the following deadlines shall control this

 matter:

 FIRST DAY TO SERVE WRITTEN DISCOVERY REQUESTS: October 16, 2020.

 INITIAL DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(a)(1): October 30, 2020.
 .
 PRODUCING PARTIES TO PROVIDE ORGANIZATIONAL CHARTS (TO THE
 EXTENT THEY EXIST): 30 days after being served with the requesting Parties’ first requests for
 production of documents.

 MOTION TO DISMISS: December 1, 2020.

 OPPOSITIONS TO MOTION TO DISMISS: January 15, 2021.



Case 3:23-md-03071         Document 776-11        Filed 02/09/24     Page 2 of 5 PageID #: 14250
 Case 2:20-cv-02600-SHL-cgc Document 61 Filed 10/15/20 Page 2 of 4                      PageID 446




 REPLIES IN SUPPORT OF MOTION TO DISMISS: February 15, 2021.

 PARTIES TO SUBMIT DISPUTES TO COURT REGARDING ANY AREAS OF DISPUTE
 REGARDING DOCUMENTS TO BE PRODUCED IN RESPONSE TO REQUESTS FOR
 PRODUCTION: 90 days from service of the Parties’ first Requests for Production.

 ALTERNATIVE DISPUTE RESOLUTION

           (a)    ADR DEADLINE PURSUANT TO ADR PLAN RULE 4.3(a): December 23,
                  2020.

           (b)    SELECTION OF MEDIATOR PURSUANT TO ADR PLAN RULE 5.4(c):

                  ADR STIPULATION FILING DATE: On or before October 23, 2020, the Parties
                       will file a stipulation designating the specific ADR intervention the Parties
                       have selected, the time frame within which the ADR process will be
                       completed, and the selected Neutral.

 COMPLETING FACT DISCOVERY:

           (a)    DOCUMENT PRODUCTION 1

                  (1)     BEGIN ROLLING PRODUCTION OF DOCUMENTS IN RESPONSE
                          TO REQUESTS FOR PRODUCTION: Within 75 days of service of the
                          relevant requests for production of documents, subject to any unresolved
                          objections of the producing Party.

                  (2)     COMPLETION OF PRODUCTION OF TRANSACTIONAL DATA IN
                          RESPONSE TO REQUESTS FOR PRODUCTION: Within 100 days of
                          service of the relevant requests for production of documents, subject to any
                          unresolved objections of the producing Party.

                  (3)     COMPLETION OF DOCUMENT PRODUCTION IN RESPONSE TO
                          REQUESTS FOR PRODUCTION: Within 165 days of the service of
                          relevant requests for production of documents, subject to any unresolved
                          objections of the producing Party.

           (b)    DEADLINE FOR MOTIONS TO JOIN PARTIES: November 19, 2021.

           (c)    DEADLINE FOR MOTIONS TO AMEND PLEADINGS: November 19, 2021.

 1
     All requests for production must be served at least 45 days before the end of Fact Discovery.

                                                   2




Case 3:23-md-03071          Document 776-11        Filed 02/09/24      Page 3 of 5 PageID #: 14251
 Case 2:20-cv-02600-SHL-cgc Document 61 Filed 10/15/20 Page 3 of 4                   PageID 447




        (d)     DEADLINE FOR COMPLETION OF DEPOSITIONS: February 18, 2022. 2

        (e)     DEADLINE FOR SERVING INTERROGATORIES AND REQUESTS FOR
                ADMISSION: January 14, 2022.

        (f)     CLOSE OF FACT DISCOVERY: February 18, 2022.

 EXPERT WITNESS DISCLOSURES

        (a)     DEADLINE TO SERVE EXPERT REPORTS ON ALL ISSUES ON WHICH
                A PARTY HAS THE BURDEN OF PROOF: March 18, 2022.

        (b)     DEADLINE TO SERVE OPPOSING EXPERT REPORTS: May 13, 2022.

        (c)     DEADLINE TO SERVE REBUTTAL EXPERT REPORTS: July 11, 2022.

        (d)     DEADLINE FOR EXPERT WITNESS DEPOSITIONS: 3 August 12, 2022.

 MOTIONS FOR CLASS CERTIFICATION AND TO EXCLUDE EXPERTS UNDER F.R.E.
 702/DAUBERT MOTIONS: September 16, 2022.

 OPPOSITIONS TO MOTIONS FOR CLASS CERTIFICATION AND TO EXCLUDE
 EXPERTS UNDER F.R.E. 702/DAUBERT MOTIONS: November 11, 2022.

 STATUS CONFERENCE TO SET SCHEDULE FOR SUMMARY JUDGMENT AND
 TRIAL: November 18, 2022 at 9:30 AM.

 REPLIES IN SUPPORT OF MOTIONS TO EXCLUDE EXPERTS UNDER F.R.E.
 702/DAUBERT MOTIONS: December 9, 2022.

 REPLIES IN SUPPORT OF MOTIONS FOR CLASS CERTIFICATION: December
 22, 2022.

 SUMMARY JUDGMENT MOTIONS: To be discussed at November 18th conference.


 2
  The deadlines for completing depositions and closing fact discovery are contingent on the Parties’
 substantially completing production of data and documents sufficiently in advance of the
 February 18, 2022 deadline for completing depositions and closing fact discovery so that the Parties
 have sufficient time to prepare for and utilize the documents at depositions.
 3
  Absent agreement of the Parties, each expert is subject to a maximum of one deposition lasting no
 more than seven hours.

                                                 3




Case 3:23-md-03071       Document 776-11         Filed 02/09/24     Page 4 of 5 PageID #: 14252
 Case 2:20-cv-02600-SHL-cgc Document 61 Filed 10/15/20 Page 4 of 4                      PageID 448




 JOINT PROPOSED PRETRIAL ORDER DUE: To be set by the Court at November 18th
 conference.

 PRETRIAL CONFERENCE DATE: To be set by the Court November at 18th Conference.

 JURY TRIAL: To be set by the Court at November 18th Conference.

 OTHER RELEVANT MATTERS:

         Pursuant to Local Rule 16.3(d), within 7 days of completion of ADR, the parties shall file a
 notice via ECF confirming that the ADR was conducted and indicating whether it was successful or
 unsuccessful, without disclosing the parties' respective positions at the ADR. The Mediator must
 file a Mediation Certification form, as noted above.

         Pursuant to Local Rule 7.2(a)(1)(A), all motions, except motions pursuant to Fed. R. Civ. P.
 12, 56, 59, and 60 shall, be accompanied by a proposed order in a word processing format sent to
 the ECF mailbox of the presiding judge.

        Pursuant to Local Rule 7.2(a)(1)(B), the parties are required to consult prior to filing any
 motion (except motions filed pursuant to Fed. R. Civ. P. 12, 56, 59, and 60).

         The opposing party must file a response to any opposed motion. Pursuant to Local Rule
 7.2(a)(2), a party's failure to respond timely to any motion, other than one requesting dismissal of a
 claim or action, may be deemed good grounds for granting the motion.

         Neither party may file an additional reply to any motion, other than a motion filed pursuant
 to Fed. R. Civ. P. 12(b) or 56, without leave of the court. Pursuant to Local Rule 7.2(c), if a party
 believes that a reply is necessary, it shall file a motion for leave to file a reply within 7 days of
 service of the response, setting forth the reasons why a reply is required.

       This order has been entered after consultation with the parties. Absent good cause
 shown, the deadlines set by this order will not be modified or extended.

        IT IS SO ORDERED, this 15th day of October, 2020.

                                               s/ Sheryl H. Lipman
                                               SHERYL H. LIPMAN
                                               UNITED STATES DISTRICT JUDGE




                                                  4




Case 3:23-md-03071        Document 776-11         Filed 02/09/24      Page 5 of 5 PageID #: 14253
